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  5

  6                                UNITED STATES DISTRICT COURT
  7                              CENTRAL DISTRICT OF CALIFORNIA
  8

  9    ASHLEY LINDSAY MORGAN                              No. 2:21-cv-5289
       SMITHLINE,
 10
                          Plaintiff,
 11                                                       COMPLAINT
               v.
 12
       BRIAN WARNER a/k/a MARILYN
 13    MANSON, individually, and MARILYN                  (JURY TRIAL DEMANDED)
       MANSON RECORDS, INC.,
 14
                          Defendants.
 15

 16   1.     Plaintiff ASHLEY LINDSAY MORGAN SMITHLINE; (“Ms. Smithline” or “Plaintiff”),
 17
      by and through her attorneys, bring this action for damages and other legal and equitable relief,
 18
      stating the following as Plaintiff’s claims against BRIAN WARNER a/k/a MARILYN MANSON,
 19
      individually (“Mr. Warner”), and MARILYN MANSON RECORDS, INC., (“Marilyn Manson
 20
      Records” and, together with Mr. Warner, “Defendants”). Plaintiff demands a trial by jury.
 21

 22                                            INTRODUCTION

 23   2.     This is an action brought by Plaintiff seeking damages from Defendants for sexual assault,
 24   sexual battery, intentional infliction of emotional distress, unlawful imprisonment, violations of the
 25
      Bane Act, and/or violations of the Trafficking Victims Protection Reauthorization Act, and any
 26
      other cause(s) of action that can be inferred from the facts set forth herein.
 27
      3.     Mr. Warner is a recording artist based in Los Angeles, California.
 28
                                                         1                                 COMPLAINT
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  1   4.      Ms. Smithline is an American model and entertainer, who began modeling internationally
  2   at age 13.
  3
      5.      Plaintiff alleges that she is entitled to recover general damages, special damages, and
  4
      punitive damages, as well as such other and further relief as this Court finds necessary and proper.
  5
                                       JURISDICTION AND VENUE
  6

  7   6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, which confers

  8   original jurisdiction upon this Court for actions arising under the laws of the United States. This

  9   Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1367, which confers
 10
      supplemental jurisdiction upon this Court for all other claims that are so related to claims in the
 11
      action within such original jurisdiction that they form part of the same case or controversy under
 12
      Article III of the United States Constitution.
 13
      7.      Venue is also proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendants
 14

 15   maintain offices, conduct business, and reside in this District.

 16                                                PARTIES
 17   8.      Defendant BRIAN WARNER a/k/a MARILYN MANSON is an individual who lives in
 18
      Los Angeles, California.
 19
      9.      Defendant MARILYN MANSON RECORDS, INC. is a privately held corporation with its
 20
      principal place of business located in Los Angeles, California.
 21

 22   10.     Plaintiff ASHLEY LINDSAY MORGAN SMITHLINE is a person who has been aggrieved

 23   by Defendants’ actions. She is a citizen of the United States of America and is a resident of the

 24   state of California.
 25                                       STATEMENT OF FACTS
 26
      11.     In or around 1999, Marilyn Manson Records was founded by Mr. Warner. Mr. Warner
 27
      served as a musician and CEO of the record label. To help oversee the record label, Mr. Warner
 28
                                                         2                                COMPLAINT
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  1   employed staff to facilitate both personal and professional ventures. As Mr. Warner’s reputation
  2   within the entertainment industry grew, so too did the stature of Marilyn Manson Records.
  3
      12.    Ms. Smithline was working as a model in Bangkok, Thailand, when she was first contacted
  4
      by Mr. Warner in or around the summer of 2010. Mr. Warner contacted Ms. Smithline numerous
  5
      times through various forms of social media, including Facebook and Skype.
  6

  7   13.    During this early communication, Mr. Warner expressed a desire to cast Ms. Smithline in

  8   an upcoming film project. Between July and August 2010, Ms. Smithline and Mr. Warner talked

  9   frequently via text, e-mail, and telephone.
 10
      14.    During this time, Mr. Warner developed an obsession with Ms. Smithline, telling her that
 11
      she “was the perfect girl for him” and demanding that she frequently send him pictures of herself.
 12
      Mr. Warner’s obsessive behavior continued well into their relationship—while Ms. Smithline was
 13
      having a medical procedure in April 2011, Mr. Warner continually called Ms. Smithline and Ms.
 14

 15   Smithline’s friends when she did not answer.

 16   15.    Over the course of their communication, Ms. Smithline confided to Mr. Warner that she
 17   wished to get out of modeling. Mr. Warner told her that he believed in Ms. Smithline as an actress
 18
      and continued to recruit her to be cast in a film project he was allegedly planning.
 19
             16.      On or around November 10, 2010, Mr. Warner flew Ms. Smithline to Los Angeles
 20
      for the first time to meet and work on a film project. Ms. Smithline understood this to be a film and
 21

 22   photo series.

 23          17.      Ms. Smithline informed her Thai modeling agency that she was visiting Los Angeles

 24   to be cast in a movie. Mr. Warner told Ms. Smithline that the film would be a remake of “True
 25   Romance” and would include director Eli Roth and actor Naveen Andrews.
 26
             18.      Soon after Ms. Smithline arrived in Los Angeles in or around mid-November 2010,
 27
      Mr. Warner asked her to move into his apartment. Ms. Smithline agreed.
 28
                                                        3                                    COMPLAINT
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  1          19.     Mr. Warner’s apartment served as the “studio” for the “film project.” There were
  2   times when entire production crews were present, in addition to members of Mr. Warner’s band
  3
      such as Twiggy Ramirez (“Ramirez”). Ms. Smithline was berated by Mr. Warner when she did not
  4
      wear makeup and told to wear black lingerie, her “costume,” while at the studio.
  5
             20.     Several days after moving in with Mr. Warner, Ms. Smithline and Mr. Warner began
  6

  7   a consensual sexual relationship. However, it quickly became apparent that consensual sex was not

  8   enough for Mr. Warner.

  9          21.     In or around mid-November 2010, Ms. Smithline awoke from unconsciousness with
 10
      her ankles and wrists tied together behind her back and Mr. Warner sexually penetrating her. Ms.
 11
      Smithline told Mr. Warner to stop and said no multiple times, and Mr. Warner told her to “shut the
 12
      fuck up” and “be quiet.” Mr. Warner also squeezed Ms. Smithline’s ribs, causing bruising and pain
 13
      whenever she breathed that lasted for a week, as well as additional injuries to her vagina.
 14

 15          22.     In or around mid-November 2010 Ms. Smithline was again sexually assaulted by

 16   Mr. Warner.
 17          23.     Mr. Warner began choking Ms. Smithline and forced her onto his bed. Mr. Warner
 18
      then forcibly penetrated Ms. Smithline without her consent. Ms. Smithline said no several times
 19
      and told Mr. Warner to get off of her. In response, Mr. Warner put a pillow over Ms. Smithline’s
 20
      face, preventing her from breathing.
 21

 22          24.     Mr. Warner then grabbed a knife next to the bed and began cutting Ms. Smithline’s

 23   shoulder, inner arm, and stomach. The cuts drew blood and caused Ms. Smithline to go into shock.

 24   To this day, Ms. Smithline bears the scars of Mr. Warner’s cuts.
 25          25.     Several days after Thanksgiving 2010, Ms. Smithline was again forced to have sex
 26
      with Mr. Warner. Mr. Warner attempted to tie up Ms. Smithline and she resisted. As Ms. Smithline
 27

 28
                                                        4                                 COMPLAINT
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  1   resisted, Mr. Warner attempted to physically restrain her, resulting in Mr. Warner elbowing Ms.
  2   Smithline in the nose.
  3
             26.     Mr. Warner then stopped trying to tie up Ms. Smithline. Instead, Mr. Warner held
  4
      down Ms. Smithline by her shoulders and arms and forcibly penetrated her. Ms. Smithline told Mr.
  5
      Warner to stop several times and feared for her life.
  6

  7          27.     Soon after, Ms. Smithline flew to Thailand for a modeling job. Ms. Smithline first

  8   stopped into a hospital to receive medical treatment. She was diagnosed with a hairline fracture of

  9   her nose.
 10
             28.     Between mid-November 2010 and January 2013, Ms. Smithline visited Mr. Warner
 11
      several times, flying back and forth to Los Angeles from modeling jobs in Asia. Ms. Smithline
 12
      continued visiting Mr. Warner due to the severe mental duress caused by Mr. Warner’s abuse. Ms.
 13
      Smithline endured threats to her life while with Mr. Warner and suffered threats to her life when
 14

 15   Mr. Warner felt she would leave him. Mr. Warner manipulated Ms. Smithline into a state of near-

 16   total isolation, both physically and emotionally. Once isolated, Mr. Warner exercised complete
 17   control over Ms. Smithline; her continued involvement in the relationship was borne out of this
 18
      severe mental duress.
 19
             29.     Over the course of this relationship, Ms. Smithline was forced to do various jobs for
 20
      Mr. Warner, such as serving as his personal chef.
 21

 22          30.     Mr. Warner kept his apartment in near-total darkness, preventing Ms. Smithline

 23   from knowing the time of day. Mr. Warner’s apartment was so dark and so cold that Ms. Smithline

 24   described it as a “black refrigerator.”
 25          31.     Mr. Warner would lie about the time of day, forcing Ms. Smithline to work at all
 26
      hours and kept her awake by giving her cocaine or blaring loud music. Mr. Warner also did not
 27

 28
                                                          5                               COMPLAINT
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  1   provide Ms. Smithline food to eat. Between the sleep deprivation, drug use, and malnourishment,
  2   Ms. Smithline’s weight dropped to approximately 80 pounds.
  3
             32.       In addition, Mr. Warner repeatedly threatened Ms. Smithline’s life, telling her that
  4
      he would “find her” and “kill her if she left him.” Other times, Mr. Warner would casually tell Ms.
  5
      Smithline that he “could kill her right now.”
  6

  7          33.       Mr. Warner also abused Ms. Smithline whenever he felt “disrespected” by her. On

  8   one occasion, Ms. Smithline excused herself to use the bathroom while one of Mr. Warner’s songs

  9   was playing. Mr. Warner took offense and when Ms. Smithline returned, he grabbed her by the
 10
      wrist and told her to “be respectful.” Mr. Warner also kept a soundproof glass enclosure in his
 11
      bedroom that was known as “the bad girls’ room.” Ms. Smithline was repeatedly locked in that
 12
      enclosure.
 13
             34.       Mr. Warner also demeaned Ms. Smithline in front of others. In one instance after
 14

 15   Thanksgiving 2010, Mr. Warner and Ms. Smithline were spending time with a group of friends and

 16   bandmates. Mr. Warner commented to everyone that Ms. Smithline had the best breasts and
 17   proceeded to tell Ms. Smithline to show everyone her breasts. At this point, Ms. Smithline felt like
 18
      she could not say no—Mr. Warner’s control over Ms. Smithline was complete and total.
 19
             35.       Ms. Smithline was also subjected to physical abuse by Mr. Warner. On one
 20
      occasion, Mr. Warner grabbed Ms. Smithline’s chin. Mr. Warner frequently bit Ms. Smithline,
 21

 22   leaving marks and bruising that would last for weeks. The abuse escalated into Mr. Warner shaking

 23   Ms. Smithline and strangling her by putting his hand in her mouth. On yet another occasion, Mr.

 24   Warner threw a Nazi knife at Ms. Smithline, only barely missing her face. Mr. Warner also burned
 25   Ms. Smithline.
 26
             36.       At multiple times during their relationship, Mr. Warner whipped Ms. Smithline. On
 27
      the first occasion, Mr. Warner whipped Ms. Smithline’s bare back 15-20 times while she laid in
 28
                                                         6                                 COMPLAINT
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  1   bed. In addition, Mr. Warner took photographs of the scarring from the whip and posted them on
  2   in internet without Ms. Smithline’s consent.       Ms. Smithline was whipped again, and each
  3
      subsequent whipping increased in intensity and left scars that lasted for months.
  4
              37.    Mr. Warner also took photographs of Ms. Smithline that were sexual in nature.
  5
      When Ms. Smithline asked for these photographs, Mr. Warner refused to give them to her and
  6

  7   would not disclose if he had deleted them. Mr. Warner instead used the photographs as leverage,

  8   telling Ms. Smithline that he would “ruin [her] in a heartbeat” with all the photos he had of her and

  9   that “[her] career would end.”
 10
              38.    Ms. Smithline was also subject to “branding” by Mr. Warner. On one occasion, Mr.
 11
      Warner carved his stage name initials into Ms. Smithline’s thigh, leaving the letters “MM” visible
 12
      to this day.
 13
              39.    Mr. Warner told Ms. Smithline that he only dated Jewish girls. While Ms. Smithline
 14

 15   was away modeling in Asia, Mr. Warner requested that she purchase and bring back Nazi

 16   paraphernalia. Ms. Smithline, who is Jewish, did as much, bringing Mr. Warner rings, throwing
 17   stars, a mask, and a knife—all adorned with swastikas. Mr. Warner knew Ms. Smithline was Jewish
 18
      and played this traumatizing behavior off as a joke between the two of them. Nonetheless, Mr.
 19
      Warner demanded that Ms. Smithline purchase as much Nazi memorabilia that she could find. Mr.
 20
      Warner would refer to Ms. Smithline as a “dirty Jew” and a “kike” when he was angry with her.
 21

 22           40.    Mr. Warner’s abusive behavior isolated Ms. Smithline from her friends and family.

 23   During Thanksgiving 2010, when Ms. Smithline visited Mr. Warner, Mr. Warner demanded Ms.

 24   Smithline not tell anyone, including her friends and family, that she was visiting him. Not long after
 25   Thanksgiving 2010, Mr. Warner confiscated Ms. Smithline’s phone, preventing her from
 26
      contacting anyone.
 27

 28
                                                         7                                 COMPLAINT
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  1          41.     At no point before, during, or after their relationship did Ms. Smithline tell Mr.
  2   Warner she had a sexual “kink” or “fantasy” for this sort of behavior. Mr. Warner never told Ms.
  3
      Smithline that he had those “kinks” or “fantasies” either—he just abused her.
  4
             42.     Ms. Smithline felt like she was constantly having to prove herself to Mr. Warner.
  5
      Through his physical, emotional, and verbal abuse, Mr. Warner exercised total control over Ms.
  6

  7   Smithline, to the point that Ms. Smithline became powerless and brainwashed by Mr. Warner.

  8          43.     To this day, Ms. Smithline deals with complex Post-Traumatic Stress Disorder,

  9   anxiety, Obsessive Compulsive Disorder, and panic attacks as a result. The scars left from Mr.
 10
      Warner’s knife cuts are a daily reminder of the torment Ms. Smithline endured and survived.
 11
             44.     It took Ms. Smithline years to understand the extent of Mr. Warner’s physical,
 12
      sexual, psychological, and emotional abuse. In fact, the true extent of the injuries suffered by Ms.
 13
      Smithline were not fully realized until Fall 2020, when she began meeting with other survivors of
 14

 15   Mr. Warner’s abuse. Ms. Smithline still fears the reach of Mr. Warner. Given his stature in the

 16   entertainment industry, the threat posed by Mr. Warner is not limited to Mr. Warner the individual.
 17   Rather, the threat is diffuse and shared among Mr. Warner’s legion of fans, supporters, and
 18
      colleagues. As a result, Ms. Smithline has been forced to live in a constant state of fear.
 19
             45.     The meetings with other survivors exposed the malevolent extent of Mr. Warner’s
 20
      exploitative and abusive behavior. The survivors with whom Ms. Smithline spoke revealed their
 21

 22   own emotional, physical, verbal, and sexual abuse by Mr. Warner. Like Ms. Smithline, many of

 23   the survivors suffer lingering effects of the abuse, including post-traumatic stress disorder.

 24          46.     These meetings were also the first confirmation that Ms. Smithline was not alone
 25   and the trauma she suffered was part of a pattern of horrific behavior by Mr. Warner. The constant
 26
      verbal, emotional, and physical abuse created a hostile environment for Ms. Smithline.
 27

 28
                                                         8                                  COMPLAINT
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  1          47.     When she met with the support group in Fall 2020, Ms. Smithline finally found a
  2   semblance of refuge. Ms. Smithline found in this group a network of survivors who helped her fully
  3
      understand the trauma she endured. The network of supporters revealed something novel: the full
  4
      extent of the unlawful acts suffered by Ms. Smithline.
  5
             48.     Because Ms. Smithline recognized the unlawfulness of Mr. Warner’s actions and
  6

  7   the extent of her injuries after these meetings with survivors in Fall 2020, the statute of limitations

  8   period for her causes of action were tolled and are timely.

  9                                   Trafficking Victims Protection Act
 10
             49.     Mr. Warner employed fraud to bring Ms. Smithline to the United States from
 11
      Thailand. He encouraged Ms. Smithline to transition to acting from a career in modeling by
 12
      promising work opportunities that never materialized.
 13
             50.     Ms. Smithline reasonably relied upon Mr. Warner’s promises of work due to his
 14

 15   connections, power, and stature in the industry. Mr. Warner is a well-known figure in the

 16   entertainment industry and has been for over two decades. Mr. Warner used both fraudulent offers
 17   of film and photo series roles to convince Ms. Smithline to travel to Los Angeles, whereupon Mr.
 18
      Warner then verbally, physically, and emotionally abused Ms. Smithline and performed violent
 19
      sexual acts on Ms. Smithline to which she did not consent.
 20
             51.     Because Mr. Warner had cast Ms. Smithline in what she believed to be a legitimate
 21

 22   film and photo series, and in conjunction with Mr. Warner’s connections in the industry, her

 23   reliance on future projects was reliable. In fact, Mr. Warner went so far as to encourage Ms.

 24   Smithline’s desire to get out of modeling for a career as an actress.
 25          52.     Mr. Warner knew these offers to be fraudulent. No effort was made to complete
 26
      production of the film project and to date nothing from that project has been published. Mr. Warner
 27
      merely used the film project as a pretense to lure Ms. Smithline to the United States. No effort was
 28
                                                         9                                  COMPLAINT
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   1   made to complete the film project, providing further evidence that the project was a mere fraudulent
   2   pretense used to bring Ms. Smithline to Los Angeles. After Mr. Warner cultivated Ms. Smithline’s
   3
       dependency on Mr. Warner, he sought complete control over Ms. Smithline to do his bidding. Mr.
   4
       Warner’s culpability is further demonstrated by preventing Ms. Smithline from escaping the
   5
       situation by confining her to the glass enclosure in his bedroom, threatening her life if she attempted
   6

   7   to leave him, and restricting her communications.

   8          53.     Ms. Smithline provided not only “commercial sex” as legally defined, but also a

   9   variety of unpaid labor for Mr. Warner between November 2010 and January 2013. This included
  10
       serving and preparing food for Mr. Warner and his guests and being forced to show his friends and
  11
       bandmates her naked breasts. Mr. Warner implied that because he had brought Ms. Smithline to
  12
       the United States and provided housing and a transition from modeling to acting, she owed him
  13
       labor and sexual intimacy. Ms. Smithline feared for her safety and that of her friends and family if
  14

  15   she did not comply.

  16          54.     Marilyn Manson Records is complicit in Mr. Warner’s unlawful actions. As Marilyn
  17   Manson Records had a vested financial interest in the success of Mr. Warner, it had every incentive
  18
       to encourage Mr. Warner’s violent tendencies. Indeed, Marilyn Manson Records helped foster Mr.
  19
       Warner’s abusive behavior for the furtherance of its own commercial success. This extends to the
  20
       purported “film project” Mr. Warner used to lure Ms. Smithline to the United States; Mr. Warner’s
  21

  22   entertainment success equated to the success of Marilyn Manson Records. Staff members of Mr.

  23   Warner’s label and band members hung around the “set” of this “film project” and watched the

  24   abuses firsthand. Given the stature of Mr. Warner and Marilyn Manson Records, Ms. Smithline had
  25   every reason to believe she would be afforded new entertainment opportunities with Mr. Warner
  26
       and Marilyn Manson Records. In sum, Mr. Warner used his status as CEO and musician of Marilyn
  27
       Manson Records to induce Ms. Smithline to come to the United States from overseas. Thus, the
  28
                                                          10                                 COMPLAINT
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   1   forced labor obtained by Mr. Warner’s fraudulent promises to Ms. Smithline benefitted not just Mr.
   2   Warner, but Mr. Warner’s record label Marilyn Manson Records. In sum, Mr. Warner, as CEO of
   3
       Marilyn Manson Records, used his position and prominence within the company to lure Ms.
   4
       Smithline to the United States, where she was then forced to provide labor and sexual services on
   5
       behalf of Mr. Warner and Marilyn Manson Records.
   6

   7                                     Sexual Assault & Sexual Battery

   8          55.     Mr. Warner used drugs, force, and threats of force to coerce sexual acts from Ms.

   9   Smithline on multiple occasions. Mr. Warner raped Ms. Smithline several times beginning in or
  10
       around November 2010. Ms. Smithline was well aware of the violence Mr. Warner could dole out
  11
       if she fought back, having been on the receiving end of his temper many times. He also supplied
  12
       drugs to Ms. Smithline and deprived her of sleep and food in order to weaken her physically and
  13
       mentally and decrease her ability to refuse him.
  14

  15          56.     Mr. Warner’s behavior towards Ms. Smithline demonstrates a disturbing and

  16   coercive intent. Throughout the relationship, Ms. Smithline faced the constant decision of staying
  17   with Mr. Warner and enduring his abuse or leaving and endangering her life. In addition, Ms.
  18
       Smithline lived in a constant fear of making Mr. Warner angry, which she knew would only escalate
  19
       the danger she was already in. Mr. Warner supplied alcohol and drugs to Ms. Smithline, as well as
  20
       deprived her of sleep, all to more solidify his control over her and diminish her ability to refuse
  21

  22   him.

  23          57.     Mr. Warner committed sexual acts with Ms. Smithline when she was unconscious

  24   or otherwise unable to consent.
  25          58.     Mr. Warner also committed sexual battery against Ms. Smithline on multiple
  26
       occasions throughout her time in Los Angeles between November 2010 and January 2013. These
  27
       acts included cutting Ms. Smithline’s shoulder, arms, chest, and legs, whipping Ms. Smithline’s
  28
                                                          11                              COMPLAINT
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   1   bare back, smothering Ms. Smithline during a sexual assault, and choking, strangling, biting, and
   2   burning her for Mr. Warner’s sexual gratification—all without the consent of Plaintiff.
   3
                                                   The Bane Act
   4
               59.       Mr. Warner interfered with Ms. Smithline’s civil rights regarding her religion and
   5
       her right to be free from sexual discrimination and harassment.
   6

   7           60.       Ms. Smithline’s duties for Mr. Warner included serving as a personal chef and

   8   working on his film project. Throughout this relationship, Mr. Warner regularly verbally and

   9   physically demeaned Ms. Smithline, both in private and in front of others.
  10
               61.       Mr. Warner asked Ms. Smithline, who is Jewish, to purchase Nazi paraphernalia for
  11
       him while she worked in Asia. Mr. Warner chalked this twisted request up to an inside “joke”
  12
       between the two of them. Mr. Warner coerced this demeaning and religiously motivated behavior
  13
       through his abuse.
  14

  15           62.       Mr. Warner also abused Ms. Smithline by using the Nazi paraphernalia to scar her.

  16   A knife emblazoned with a swastika was used to cut Ms. Smithline while she was raped. This was
  17   targeted behavior; Mr. Warner told Ms. Smithline that “he only dated Jewish girls.” He also would
  18
       call Ms. Smithline a “dirty Jew” and a “kike” when he was angry with her. Thus, his actions against
  19
       her, including use of the Nazi paraphernalia, were motivated by Ms. Smithline’s religious
  20
       identification.
  21

  22           63.       Further, Mr. Warner regularly subjected Ms. Smithline to abuse as she worked for

  23   him as a personal chef. This includes having Ms. Smithline wear outfits that pleased Mr. Warner

  24   (such as a black, topless corset and other lingerie), making Ms. Smithline reveal her bare breasts to
  25   Mr. Warner’s friends, and raping and sexually assaulting Ms. Smithline while she was in his
  26
       apartment. These actions were motivated directly by Ms. Smithline’s sex.
  27

  28
                                                          12                                COMPLAINT
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   1                                Intentional Infliction of Emotional Distress
   2          64.     Ms. Smithline also suffered extreme emotional harm from Mr. Warner. Mr. Warner
   3
       tied up Ms. Smithline while she was unconscious and raped her, forced her to engage in non-
   4
       consensual oral and vaginal sex, and made multiple threats against her life. Mr. Warner also non-
   5
       consensually cut Ms. Smithline during a sexual assault. This was intentional conduct motivated by
   6

   7   Mr. Warner’s sexual desires.

   8          65.     In addition, Ms. Smithline was forced to watch clips of movie scenes depicting

   9   gruesome suicides and child pornography. This was so intense it left Ms. Smithline wondering if
  10
       Mr. Warner wanted her to kill herself. Again, this was intentional conduct motivated by Mr.
  11
       Warner’s sexual desires.
  12
              66.     The deterioration of Ms. Smithline’s health also led to her emotional distress. This
  13
       was intentionally done by keeping Ms. Smithline sleep-deprived, supplying her with drugs, and not
  14

  15   providing her food to eat.

  16          67.     The emotional abuse caused by isolation of friends and family as well as the
  17   brainwashing that occurred by Mr. Warner has caused Ms. Smithline to suffer intense emotional
  18
       distress. To this day, Ms. Smithline suffers a litany of lingering effects borne out of Mr. Warner’s
  19
       abuse, including Post-Traumatic Stress Disorder, obsessive Compulsive Disorder, paranoia, and
  20
       anxiety.
  21

  22                                         Unlawful Imprisonment

  23          68.     Ms. Smithline was placed against her will in the glass enclosure in Mr. Warner’s

  24   room multiple times. Further, while Ms. Smithline stayed with Mr. Warner, she was not permitted
  25   to leave and her contact with the outside world diminished when Mr. Warner confiscated her cell
  26
       phone. Ms. Smithline was also regularly berated and physically abused if she left the room while
  27

  28
                                                         13                                COMPLAINT
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   1   Mr. Warner’s music was playing and Ms. Smithline’s life was often threatened if she left Mr.
   2   Warner. This fostered a sense of emotional, non-physical restraint.
   3
               69.      Ms. Smithline was also regularly tied up by Mr. Warner, often during rapes or
   4
       attempted rapes by Mr. Warner.
   5
               70.      Mr. Warner expressly intended such confinement. Mr. Warner confiscated Ms.
   6

   7   Smithline’s cell phone. Mr. Warner bound Ms. Smithline with rope. Mr. Warner locked Ms.

   8   Smithline in the glass enclosure. All of this served to manipulate and further control Ms. Smithline,

   9   forcing her to become totally reliant on Mr. Warner. This was also done for Mr. Warner’s sexual
  10
       pleasure.
  11
               71.      Mr. Warner had neither consent, nor authority to prevent Ms. Smithline from leaving
  12
       the apartment.
  13
                                              CAUSES OF ACTION
  14
                     AS AND FOR A FIRST CAUSE OF ACTION FOR SEXUAL ASSAULT,
  15
                      CA. CODE CIV. PRO. § 340.16, AGAINST DEFENDANT WARNER
  16
       72.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if fully
  17
       set forth herein.
  18
       73.     Defendant Warner committed a sexual assault of Plaintiff as more fully described in Section
  19
  20   243.4, 261, 262, 264.1, 286, 287, or 289, or former Section 288a, of the California Penal Code,

  21   and/or assault with the intent to commit any of those crimes, and/or or an attempt to commit any of
  22   those crimes.
  23
       74.     Plaintiff’s requests for relief are set forth below.
  24
                   AS AND FOR A SECOND CAUSE OF ACTION FOR SEXUAL BATTERY,
  25                 CA. CODE. CIV. PRO. § 1708.5, AGAINST DEFENDANT WARNER
  26   75.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if fully
  27
       set forth herein.
  28
                                                           14                                COMPLAINT
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   1   76.     Defendant Warner acted with the intent to cause a harmful or offensive contact with an
   2   intimate part of Plaintiff, and a sexually offensive contact with Plaintiff directly or indirectly
   3
       resulted.
   4
       77.     Defendant Warner also acted with the intent to cause a harmful or offensive contact with
   5
       Plaintiff by use of his intimate part, and a sexually offensive contact with that person directly or
   6

   7   indirectly resulted.

   8   78.     Defendant Warner also acted to cause an imminent apprehension of the conduct described

   9   above, and a sexually offensive contact with Plaintiff directly or indirectly resulted.
  10
       79.     Plaintiff’s requests for relief are set forth below.
  11
                AS AND FOR A THIRD CAUSE OF ACTION FOR A VIOLATION OF THE
  12         TRAFFICKING VICTIM’S PROTECTION REAUTHORIZATION ACT (“TVPRA”),
                           18 U.S.C.S. § 1589, AGAINST DEFENDANTS
  13                      WARNER AND MARILYN MANSON RECORDS
  14
       80.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if fully
  15
       set forth herein.
  16
       81.     Defendant Warner knowingly obtained the labor or services of Plaintiff by means of force,
  17
       threats of force, physical restraint, or threats of physical restraint to that person or another person;
  18

  19   by means of serious harm or threats of serious harm to Plaintiff or another person; by means of the

  20   abuse or threatened abuse of law or legal process; or by means of any scheme, plan, or pattern
  21   intended to cause Plaintiff to believe that, if she did not perform such labor or services, she or
  22
       another person would suffer serious harm or physical restraint.
  23
       82.     Defendant Marilyn Manson Records knowingly benefited financially and/or by receiving
  24
       value from forced labor by means described above and herein. Defendant Marilyn Manson Records
  25

  26   participated in this venture knowing, or in reckless disregard of the fact that the venture engaged in

  27   obtaining labor or services by the means described above or herein.

  28
                                                           15                                  COMPLAINT
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   1         AS AND FOR A FOURTH CAUSE OF ACTION FOR INTERFERENCE WITH THE
                  EXERCISE OF CIVIL RIGHTS IN VIOLATION OF THE BANE ACT,
   2                CA. CODE. CIV. PRO. § 52.1, AGAINST DEFENDANT WARNER
   3
       83.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if fully
   4
       set forth herein.
   5
       84.     California Civil Code section 52.1, also known as the Bane Act, prohibits any person or
   6

   7   persons from interfering with the exercise or enjoyment of rights under the Constitution and laws

   8   of this state and the United States by use or attempted use of threats, intimidation, or coercion.

   9   85.     Defendant Warner used or attempted to use threats, intimidation, or coercion to interfere
  10
       with the civil rights of Plaintiff, including but not limited to her rights to be free from religious
  11
       persecution and from sexual discrimination and harassment. Defendant Warner engaged in the
  12
       conduct described herein because of Plaintiff’s sex and religion. Defendant Warner intimidated and
  13
       coerced Ms. Smithline by engaging in conduct described herein.
  14

  15   86.     Because of Defendant Warner’s experience and stature in the entertainment industry, which

  16   Plaintiff sought to join, Plaintiff felt pressured to acquiesce to Defendant Warner’s demands.
  17   87.     By the conduct described herein, Defendant Warner intended to deprive Plaintiff of
  18
       enjoyment or exercise of her civil rights.
  19
       88.     As a result of Defendant Warner’s actions, Plaintiff suffered harm.
  20
       89.     Plaintiff did not discover her cause of action until Fall 2020, as described herein.
  21

  22   90.     As a result of this unlawful conduct, Plaintiff is entitled to damages in an amount to be

  23   determined at trial.

  24   91.     Defendant Warner’s conduct was done with oppression, fraud, and/or malice. Plaintiff is
  25   entitled to punitive damages.
  26

  27

  28
                                                          16                                 COMPLAINT
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   1                           AS AND FOR A FIFTH CAUSE OF ACTION FOR
                           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS,
   2                                AGAINST DEFENDANT WARNER
   3

   4   92.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if fully

   5   set forth herein.
   6   93.     Defendant Warner’s conduct was extreme and outrageous with the intention of causing, or
   7
       reckless disregard of the probability of causing emotional distress.
   8
       94.     As a result of Defendant Warner’s actions, Plaintiff suffered harm and severe emotional
   9
       distress that she still suffers from to this day.
  10

  11   95.     Plaintiff did not discover her cause of action until later, as described herein.

  12   96.     As a result of Defendant Warner’s conduct, plaintiff is entitled to damages in an amount to

  13   be determined at trial.
  14
       97.     defendant Warner’s conduct was done with oppression, fraud, and/or malice. Accordingly,
  15
       plaintiff is entitled to punitive damages.
  16
                           AS AND FOR A SIXTH CAUSE OF ACTION FOR
  17                   FALSE IMPRISONMENT, AGAINST DEFENDANT WARNER
  18

  19   98.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above, as if fully

  20   set forth herein.
  21   99.     Defendant Warner intentionally restrained, detained, and/or confined Plaintiff in his Los
  22
       Angeles apartment for an appreciable amount of time.
  23
       100.    Defendant Warner had no authority to retrain, detain, and/or confine Plaintiff.
  24
       101.    Plaintiff did not consent to the restraint, detainment, and/or confinement by Defendant
  25

  26   Warner.

  27   102.    As a result of Defendant Warner’s actions, Plaintiff suffered harm and severe emotional

  28   distress that she still suffers from to this day.
                                                           17                                 COMPLAINT
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   1   103.     Plaintiff did not discover her cause of action until later, as described herein.
   2   104.     As a result of Defendant Warner’s conduct, Plaintiff is entitled to damages in an amount to
   3
       be determined at trial.
   4
       105.     Defendant Warner’s conduct was done with oppression, fraud, and/or malice. Plaintiff is
   5
       entitled to punitive damages.
   6

   7   106.     Plaintiff’s requests for relief are set forth below.

   8                                          PRAYER FOR RELIEF

   9   WHEREFORE, Plaintiff, on behalf of herself, prays for the following relief:
  10
                A. That Plaintiff be awarded actual damages;
  11
                B. That Plaintiff be awarded compensatory damages where available;
  12
                C. That Plaintiff be awarded punitive damages;
  13
                D. That Plaintiff be awarded pre and post judgment interest;
  14

  15            E. That the Court award Plaintiff her attorneys’ fees and costs associated with this matter,

  16                including but not limited to expert fees and costs; and
  17   Plaintiff further demands that she be awarded such other and further legal and equitable relief as
  18
       may be found appropriate and as the Court may deem just or equitable.
  19
       Dated:           June 29, 2021                            /s/ Jay D. Ellwanger
  20
                                                                 Jay D. Ellwanger
  21                                                             California Bar No. 217747
  22                                                             ELLWANGER LAW LLLP
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  23                                                             Suite 190
                                                                 Austin, Texas 78731
  24                                                             jellwanger@equalrights.law
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  25                                                             (737) 808-2262 (facsimile)
  26                                                             Attorney for Plaintiff

  27

  28
                                                            18                                 COMPLAINT
